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                                                                         6                         IN THE UNITED STATES DISTRICT COURT
                                                                         7                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         9                                           )   Case No. 07-5944 SC
                                                                                                                     )
                                                                         10   IN RE: CATHODE RAY TUBE (CRT)          )   ORDER DENYING DEFENDANTS'
                                                                              ANTITRUST LITIGATION                   )   MOTION TO CERTIFY ORDER FOR
                               For the Northern District of California
United States District Court




                                                                         11                                          )   INTERLOCUTORY APPEAL
                                                                                                                     )
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                                                                         14   I.     INTRODUCTION
                                                                         15          On November 29, 2012, this Court entered an Order granting in
                                                                         16   part and denying in part Defendants' joint motion for summary
                                                                         17   judgment against nine members of a putative class of alleged direct
                                                                         18   purchaser plaintiffs ("Named DPP(s)").1          ECF No. 1470.2       Now before
                                                                         19   the Court is Defendants' joint motion to certify the November 29
                                                                         20   Order for interlocutory appeal pursuant to 28 U.S.C. § 1292(b).
                                                                         21
                                                                              1
                                                                                The nine Named DPPs are: Arch Electronics, Inc.; Crago d/b/a Dash
                                                                         22   Computers, Inc.; Electronic Design Company; Meijer, Inc. and Meijer
                                                                              Distribution, Inc.; Nathan Muchnick, Inc.; Orion Home Systems, LLC;
                                                                         23   Radio & TV Equipment, Inc.; Royal Data Services, Inc.; and Studio
                                                                         24   Spectrum, Inc. The Named DPPs are only nine of the thirteen
                                                                              members of the entire putative DPP class. As explained in Section
                                                                         25   II infra, the term "direct purchaser" is a misnomer as applied to
                                                                              the Named DPPs, who are actually indirect purchasers. However, the
                                                                         26   Court uses the term "DPP" to stay consistent with past orders and
                                                                              to differentiate the Named DPPs from a putative class called the
                                                                         27   indirect purchaser plaintiffs, as well as from the direct action
                                                                              plaintiffs.
                                                                              2
                                                                         28     In re Cathode Ray Tube Antitrust Litig., No. C–07–5944–SC, 2012
                                                                              WL 5987861, 2012 U.S. Dist. LEXIS 162762 (N.D. Cal. Nov. 29, 2012)
                                                                              (hereinafter "Nov. 29 Order").
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                                                                     1    The motion is appropriate for decision without oral argument.            Civ.
                                                                     2    L.R. 7-1(b).   For the reasons explained below, the motion is
                                                                     3    DENIED.
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                                                                     5    II.   BACKGROUND
                                                                     6          Defendants' motion for summary judgment against the Named
                                                                     7    DPPs, the motion at issue in the Nov. 29 Order, argued that the
                                                                     8    Named DPPs lacked antitrust standing under Illinois Brick Co. v.
                                                                     9    Illinois, 431 U.S. 720 (1977).      See November 29 Order at *1.
                                                                     10   Illinois Brick sets forth a straightforward rule about standing in
                           For the Northern District of California




                                                                          antitrust cases: only the first party in a chain of distribution to
United States District Court




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                                                                     12   purchase a price-fixed product has standing to sue for antitrust
                                                                     13   violations under § 4 of the Clayton Act, 15 U.S.C. § 15.           Id.
                                                                     14   Under this rule, Defendants claimed the Named DPPs could not bring
                                                                     15   an antitrust suit, because they are not true direct purchasers --
                                                                     16   that is, they purchased finished products containing the allegedly
                                                                     17   price-fixed cathode-ray tubes ("CRTs") but not the CRTs themselves.
                                                                     18   Id.
                                                                     19         However, there are exceptions to Illinois Brick's general
                                                                     20   rule, as the Ninth Circuit recently confirmed in In re ATM Fee
                                                                     21   Antitrust Litig., 686 F.3d 741, 749 (9th Cir. 2012).          One exception
                                                                     22   is the "co-conspirator exception," under which "an indirect
                                                                     23   purchaser may bring suit where he establishes a price-fixing
                                                                     24   conspiracy between the manufacturer and the middlemen," if the
                                                                     25   conspiracy fixed the price paid by the plaintiffs.          Id. (citing
                                                                     26   Delaware Valley Surgical Supply, Inc. v. Johnson & Johnson, 523
                                                                     27   F.3d 1116, 1123 n.1 (9th Cir. 2008); Arizona v. Shamrock Foods Co.,
                                                                     28   729 F.2d 1208, 1211 (9th Cir. 1984)).       Another exception is the



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                                                                     1    "ownership or control" exception, under which "indirect purchasers
                                                                     2    may sue when customers of the direct purchaser own or control the
                                                                     3    direct purchaser . . . or when a conspiring seller owns or controls
                                                                     4    the direct purchaser . . . ."      Id. (citing Illinois Brick, 431 U.S.
                                                                     5    at 736 n.16; Royal Printing Co. v. Kimberly Clark Corp., 621 F.2d
                                                                     6    323, 326 (9th Cir. 1980)).
                                                                     7         In the November 29 Order, the Court granted Defendants' joint
                                                                     8    motion to dismiss to the extent that Defendants' motion challenges
                                                                     9    the Named DPPs' right to proceed under the co-conspirator
                                                                     10   exception, because the Named DPPs did not pay for the price-fixed
                           For the Northern District of California




                                                                          CRTs, a required element of the co-conspirator exception.          Nov. 29
United States District Court




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                                                                     12   Order, supra, at *6.    However, the Court found that under the Ninth
                                                                     13   Circuit's decisions in Royal Printing and In re ATM Fee, the
                                                                     14   ownership or control exception applied to the Named DPPs because
                                                                     15   they purchased finished products incorporating the allegedly price-
                                                                     16   fixed CRTs from an entity owned or controlled by an allegedly
                                                                     17   conspiring defendant.     Nov. 29 Order at **8-11.      Accordingly, the
                                                                     18   Court held that, to the extent Defendants' summary judgment motion
                                                                     19   challenged the Named DPPs' standing on ownership and control
                                                                     20   grounds, the motion was denied.
                                                                     21        Now Defendants ask the Court to certify the November 29 Order
                                                                     22   for interlocutory appeal, arguing that (1) whether the ownership or
                                                                     23   control exception applies is a controlling question of law, such
                                                                     24   that a successful immediate appeal from the November 29 Order could
                                                                     25   "dramatically curtail the scope of the putative DPP class"; (2)
                                                                     26   there are substantial grounds for a difference of opinion as to
                                                                     27   whether the ownership or control exception can apply under the
                                                                     28   circumstances; and (3) immediate appeal of the Nov. 29 Order would



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                                                                     1    materially advance this litigation's termination by settling
                                                                     2    whether the Named DPPs may sue under federal law.          Mot. at 1-2.
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                                                                     4    III. LEGAL STANDARD
                                                                     5          District courts may certify motions for interlocutory appeal
                                                                     6    where (1) the order involves a controlling question of law (2) as
                                                                     7    to which there is substantial ground for difference of opinion, and
                                                                     8    (3) an immediate appeal from the order may materially advance the
                                                                     9    ultimate termination of the litigation.        28 U.S.C. § 1292(b).   The
                                                                     10   court of appeals may, but need not, accept and rule on an appeal
                           For the Northern District of California




                                                                          certified under § 1292(b).     Id.
United States District Court




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                                                                     12         "Section 1292(b) is a departure from the normal rule that only
                                                                     13   final judgments are appealable, and therefore must be construed
                                                                     14   narrowly."     Robin James v. Price Stern Sloan, Inc., 283 F.3d 1064,
                                                                     15   1067 n.6 (9th Cir. 2002).     As such, § 1292(b) certification should
                                                                     16   be used "only in extraordinary cases where decision of an
                                                                     17   interlocutory appeal might avoid protracted and expensive
                                                                     18   litigation."     U.S. Rubber Co. v. Wright, 359 F.2d 784, 785 (9th
                                                                     19   Cir. 1966).     Moreover, § 1292(b) "was not intended merely to
                                                                     20   provide review of difficult rulings in hard cases."          Id.; see also
                                                                     21   In re Cement Antitrust Litig., 673 F. 2d 1020, 1026 (9th Cir.
                                                                     22   1982).
                                                                     23
                                                                     24   IV.   DISCUSSION
                                                                     25         A.     Controlling Question of Law
                                                                     26         "[A]ll that must be shown in order for a question to be
                                                                     27   controlling is that resolution of the issue on appeal could
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                                                                     1    materially affect the outcome of the litigation in the district
                                                                     2    court."   In re Cement, 673 F.2d at 1026.
                                                                     3         Defendants argue that because the Named DPPs "would lack
                                                                     4    standing and their claims would be dismissed absent the ownership
                                                                     5    or control exception . . . whether the exception may apply more
                                                                     6    than suffices as a controlling question of law."         Mot. at 3.
                                                                     7    Further, Defendants state that the issue is controlling "because
                                                                     8    resolving who possesses standing is critical to determining the
                                                                     9    parameters of the putative DPP class."        Id.
                                                                     10        The Court does not agree with Defendants.         Defendants
                           For the Northern District of California




                                                                          themselves acknowledge that the direct and indirect purchasers'
United States District Court




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                                                                     12   class actions would continue regardless of the Named DPPs'
                                                                     13   standing, Mot. at 9, and also that the plaintiffs who opted out of
                                                                     14   the class actions may still be able to rely on state law causes of
                                                                     15   action in pursuing their claims against Defendants, id. at 10.
                                                                     16   Defendants might be correct that an appeal could affect part of the
                                                                     17   outcome of this litigation, but the scale of this case relative to
                                                                     18   the issue decided in the November 29 Order suggests that resolution
                                                                     19   of the issue on appeal would not, overall, be controlling or
                                                                     20   material to the outcome of this case.
                                                                     21        B.   Substantial Ground for Difference of Opinion
                                                                     22        A substantial ground for difference of opinion may exist
                                                                     23   "where the circuits are in dispute on the question and the court of
                                                                     24   appeals of the circuit has not spoken on the point, if complicated
                                                                     25   questions arise under foreign law, or if novel and difficult
                                                                     26   questions of first impression are presented."         Couch v. Telescope,
                                                                     27   Inc., 611 F.3d 629, 633 (9th Cir. 2010) (quotations omitted).
                                                                     28   However, "a party's strong disagreement with the Court's ruling is



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                                                                     1    not sufficient for there to be a substantial ground for difference,
                                                                     2    nor is the possibility that settled law might be applied
                                                                     3    differently."   Id.    (quotations omitted).
                                                                     4         Defendants argue that there is substantial ground for
                                                                     5    difference of opinion here for two reasons.        First, they state that
                                                                     6    there is a substantial ground for difference of opinion as to
                                                                     7    whether the rationale behind the operation and control exception --
                                                                     8    the concern that applying Illinois Brick too strictly would "close
                                                                     9    off every avenue for private enforcement," Royal Printing, 621 F.2d
                                                                     10   at 326 n.7 -- applies in this case, since other avenues of private
                           For the Northern District of California




                                                                          antitrust enforcement may remain open.        Mot. at 5-6.    Second,
United States District Court




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                                                                     12   Defendants claim that "reasonable minds can differ -- and have --
                                                                     13   over whether the ownership or control exception is available where,
                                                                     14   as here, the plaintiff did not purchase the allegedly price-fixed
                                                                     15   product (CRTs) at all, but rather purchased a different, downstream
                                                                     16   product (such as TVs and monitors)."       Mot. at 7-8.
                                                                     17        The Court disagrees that either of these arguments shows a
                                                                     18   substantial ground for difference of opinion per § 1292(b).         The
                                                                     19   reason is simple.     Though Defendants strongly disagree with the
                                                                     20   Court's decision on this matter, and indeed there is always a
                                                                     21   possibility that settled Ninth Circuit law might be applied
                                                                     22   differently, there appears to be no dispute among the circuit
                                                                     23   courts on the law the Court applied in its November 29 Order.
                                                                     24   Indeed, the Ninth Circuit has affirmed multiple times that Royal
                                                                     25   Printing controls in cases like this one.        In re ATM Fee, 686 F.3d
                                                                     26   at 756-57; Delaware Valley, 523 F.3d at 1121; Freeman v. San Diego
                                                                     27   Ass'n of Realtors, 322 F.3d 1133, 1146 & n.12 (9th Cir. 2003), cert
                                                                     28   denied, 540 U.S. 940 (2003).      Defendants cite no cases suggesting



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                                                                     1    that other circuits disagree.      Moreover, this Court has applied
                                                                     2    Royal Printing in a manner consistent with the November 29 Order in
                                                                     3    a number of other cases.     See, e.g., In re TFT-LCD (Flat Panel)
                                                                     4    Antitrust Litig., No. M 07-1827 SI, 2012 WL 5869588, at *3 (N.D.
                                                                     5    Cal. Nov. 28, 2012); In re Optical Disk Drive Antitrust Litig., No.
                                                                     6    3:10–md–2143 RS, 2012 WL 1366718, at *6 (N.D. Cal. Apr. 19, 2012).
                                                                     7    The fact that the Ninth Circuit has given a straightforward rule
                                                                     8    indicates that there is no substantial ground for difference of
                                                                     9    opinion on this point.
                                                                     10        C.    Immediate Appeal Beneficial
                           For the Northern District of California




                                                                               If "present appeal promises to advance the time for trial or
United States District Court




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                                                                     12   to shorten the time required for trial, appeal is appropriate."
                                                                     13   Dukes v. Wal-Mart Stores, Inc., No. C 01–02252 CRB, 2012 WL
                                                                     14   6115536, at *5 (citations omitted); see also In re Cement, 673 F.3d
                                                                     15   at 1027.   The ultimate question is whether permitting an
                                                                     16   interlocutory appeal would "minimiz[e] the total burdens of
                                                                     17   litigation on parties and the judicial system by accelerating or at
                                                                     18   least simplifying trial court proceedings."        Id.
                                                                     19        Defendants argue that interlocutory review will materially
                                                                     20   advance the resolution of this litigation by resolving whether the
                                                                     21   Named DPPs have antitrust standing, establishing the scope of the
                                                                     22   putative DPP class before class-certification briefing, altering
                                                                     23   the parties' settlement posture, potentially reducing Defendants'
                                                                     24   costs of defending claims in this case, and determining whether the
                                                                     25   opt-out plaintiffs can proceed on their federal claims.            Mot. at 9.
                                                                     26   Defendants also argue, more generally, that clarifying Royal
                                                                     27   Printing's scope will materially advance the termination of this
                                                                     28   litigation by allowing the Ninth Circuit to "put to rest" the



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                                                                     1    uncertainty surrounding the contours of the ownership and control
                                                                     2    exception.    Id.   As to the last argument, the Court already
                                                                     3    addressed the fact that the Ninth Circuit has made itself clear on
                                                                     4    this issue.    Supra § IV.B.   Further, Defendants' argument that an
                                                                     5    altered settlement posture counsels granting the appeal is
                                                                     6    unconvincing, since appeal would almost always modify parties'
                                                                     7    settlement postures in any given case.
                                                                     8          The Court also finds Defendants' other arguments unavailing.
                                                                     9    It is not certain that the Ninth Circuit would resolve this issue
                                                                     10   prior to the certification of a class in this case unless the Court
                           For the Northern District of California




                                                                          were to stay the case, which it is unwilling to do, since this case
United States District Court




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                                                                     12   has been pending since November 2007.       Moreover, appeal of the
                                                                     13   November 29 Order would not hasten the termination of this
                                                                     14   litigation because both putative classes and the DAPs would still
                                                                     15   have numerous claims left to litigate, even though some federal
                                                                     16   claims might be extinguished as to some plaintiffs.          The Court does
                                                                     17   not find that certifying the November 29 Order for interlocutory
                                                                     18   appeal would be beneficial to the termination of this case.
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                                                                     1    V.   CONCLUSION
                                                                     2         For the reasons given above, Defendants' motion to certify the
                                                                     3    November 29 Order for interlocutory appeal pursuant to 28 U.S.C. §
                                                                     4    1292(b) is DENIED.
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                                                                     6         IT IS SO ORDERED.
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                                                                               Dated: February ___, 2013
                                                                     9                                             UNITED STATES DISTRICT JUDGE
                                                                     10
                           For the Northern District of California
United States District Court




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